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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

ROCIO GALVAN AND JOSEPH                          )
HAWTHORNE, individually and on behalf            )
of the class defined below,                      )
       Plaintiffs                                )             Case No.
                                                 )
v.                                               )
                                                 )
NCO FINANCIAL SYSTEMS, INC., and                 )             JURY DEMAND
     Defendant                                   )


                                 CLASS ACTION COMPLAINT

                                             INTRODUCTION

       1.      Plaintiffs Rocio Galvan (“Galvan”) and Joseph Hawthorne (“Hawthorne”) (together

referred to as “Plaintiffs”) file this action individually and on behalf of the class defined below

against NCO Financial Systems, Inc. (“NCO Financial”) for violations of the Illinois Collection

Agency Act, 225 ILCS 425 et seq., (“ICAA”)(Count One) and the Fair Debt Collection Practices

Act, 15 U.S.C. §1692 et seq., (“FDCPA”) (Count Two), arising from its collection of debts that

were purchased by NCO Portfolio Management, Inc. (“NCO Portfolio”) when NCO Portfolio was

not a licensed debt collector in Illinois.

                                     JURISDICTION AND VENUE

       2.      Pursuant to 28 U.S.C. §1331, the Court has federal question jurisdiction over the

claims brought pursuant to the FDCPA.

       3.      Pursuant to 28 U.S.C §1367(a), the Court has supplemental jurisdiction over the

claims brought pursuant to the ICAA.

       4.      Pursuant to 28 U.S.C. §1391(a)(2), venue is proper in this district because a

substantial portion of the events giving rise to this action occurred in this district.
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                           PARTIES AND OTHER RELEVANT PERSONS

       5.      Plaintiffs are natural persons who resided in Cook County Illinois at all times

relevant to this action.

       6.      NCO Financial is a Pennsylvania corporation with its principal place of business in

Horsham, Pennsylvania.

       7.      NCO Financial is one of the largest collection agencies in the world.

       8.      NCO Financial regularly does business in Illinois and has a registered agent, CT

Corporation System, located in Chicago, Illinois.

       9.      NCO Financial is engaged in the business of collecting consumer debts allegedly

owed to others and regularly uses the telephone and United States mail for that purpose.

       10.     NCO Financial is a “debt collector” as defined by the FDCPA.

       11.     NCO Financial is a “collection agency” as defined by the ICAA.

       12.     NCO Portfolio is a Delaware corporation with its principal place of business in

Horsham, Pennsylvania.

       13.     NCO Portfolio is one of the ten largest debt purchasers in the United States.

       14.     NCO Portfolio regularly does business in Illinois and has a registered agent, CT

Corporation System, located in Chicago, Illinois.

       15.     NCO Portfolio is engaged in the business of purchasing or claiming to purchase

charged-off consumer debts and enforcing the debts against the consumers by filing collection

lawsuits and otherwise.

       16.     NCO Portfolio is a “collection agency” as defined by the ICAA.

       17.     NCO Portfolio has never been licensed as a collection agency in the State of Illinois.

                                           THE ICAA

       18.     In order to protect Illinois consumers, the ICAA creates a licensing

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regime and makes it a crime for collection agencies to operate, directly or indirectly

engage in the business of collecting, or exercise the right to collect in Illinois without

first obtaining a license. 225 ILCS 425/4; 225 ILCS 425/14.

      19.     The ICAA defines a “collection agency” as “any person who, in the

ordinary course of business, regularly, on behalf of himself or herself or others,

engages in debt collection.” 225 ILCS 425/2.

      20.     The ICAA further provides that a corporation acts as a collection

agency when it “buys accounts, bills, or other indebtedness and engages in collecting

the same.” 225 ILCS 425/3.

      21.     The ICAA prohibits a collection agency, whether licensed or not, from

attempting or threatening to enforce a right or remedy with knowledge or reason to

know that the right or remedy does not exist. 225 ILCS 425/9(a)(20).

      22.     Similarly, the ICAA also prohibits a collection agency, whether

licensed or not, from misrepresenting the amount owed (225 ILCS 425/9(a)(26)) and

from collecting or attempting to collect any amount not authorized by law. 225 ILCS

425/9(a)(29).

      23.     There is a private right of action for damages arising from violations

of the ICAA.

                                  FACTUAL BACKGROUND

      24.     On information and belief, throughout the time period relevant to this action NCO

Portfolio purchased thousands of accounts receivable (“Debts”) allegedly owed by Illinois

consumers from some of the nations largest financial institutions, such as Citibank and Bank of

America, and from other creditors.

      25.     Because NCO Portfolio was never licensed as a collection agency in Illinois, its

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purchases of the Debts were illegal and it obtained no rights to any payment thereby. See LVNV

Funding v. Trice, 1-09-2773, 2011 Ill. App. LEXIS 228 (1st Dist. March 16, 2011).

        26.   Even though NCO Portfolio’s purchases of the Debts were illegal and it obtained

no rights to payment of the Debts, it retained NCO Financial to collect the Debts on its behalf.

        27.   At all times relevant to this action, NCO Financial regularly used telephones and

and the United States mail to contact thousands of consumers throughout Illinois who allegedly

owed the Debts purchased by NCO Portfolio.

        28.   Throughout the time period relevant to this action, NCO Financial has falsely

represented to thousands of Illinois consumers that they owed the Debts to NCO Portfolio when

in fact NCO Portfolio had no right to purchase the Debts or collect payment for the same.

        29.   Throughout the time period relevant to this action, NCO Financial has collected

thousands if not millions of dollars from Illinois consumers whom it alleged owed the Debts to

NCO Portfolio.

                              FACTS RELATING TO PLAINTIFFS

        30.   In mid to late 2006, NCO Financial demanded payment from

Hawthorne of a debt that NCO Portfolio had purchased from Citibank, which

Hawthorne allegedly owed in connection with his use of a personal credit card.

        31.   In mid to late 2006, Hawthorne made payments to NCO Financial, who

received payment on behalf of NCO Portfolio, and eventually satisfied the alleged

debt.

        32.   On March 5, 2008, NCO Portfolio filed a lawsuit against Hawthorne

in the Circuit Court of Cook County Illinois to collect the same debt, even though

it had already been satisfied.

        33.   After being served with process in the collection lawsuit, Hawthorne


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filed an appearance in the case, incurring a fee of $168.00.

      34.     NCO Portfolio dismissed the case against Hawthorne, but NCO

Financial, on behalf of NCO Portfolio, has since demanded further payment of the

debt from Hawthorne as recently as May 2011.

      35.     On March 5, 2008, NCO Portfolio filed a lawsuit against Galvan in the

Circuit Court of Cook County Illinois to collect a debt that it had purchased from

AT&T Universal, which Galvan allegedly owed in connection with her use of a

personal credit card.

      36.     Throughout 2008, NCO Financial demanded payment from Galvan

with respect to the debt allegedly owed to NCO Portfolio.

      37.      To resolve the dispute, Galvan made monthly payments to NCO

Financial, who received payment on behalf of NCO Portfolio, between May 2008 and

November 2008.

      38.     NCO Financial took all of the above collection actions on behalf of NCO

Portfolio, which had purchased the alleged debts in question at a time when it was

not licensed as a collection agency in Illinois.

                                     CLASS ALLEGATIONS

      39.     Plaintiffs bring this action on behalf of the following class and sub-class.

      40.     The ICAA class consists of (a) all natural persons residing in Illinois (b) from

whom NCO Financial demanded payment of a debt (c) allegedly owed to NCO Portfolio (d)

between June 8, 2006 and 20 days after the filing of this complaint.

      41.     An FDCPA sub-class consists of (a) all natural persons residing in Illinois (b) from

whom NCO Financial demanded payment of a debt (c) allegedly owed to NCO Portfolio (d)

between June 8, 2010 and 20 days after the filing of this complaint.

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       42.    Plaintiffs and all members of the class and sub-class have been harmed by NCO

Financial.

       43.    Both the class and sub-class are so numerous that joinder of all members is not

practicable. There are likely thousands of members of each class and sub-class based on NCO

Financial’s size and a search of electronic court records indicating that NCO Portfolio filed over

1,000 consumer debt collection lawsuits between 2007 and 2008 in the Circuit Court of Cook

County alone. The disposition of the claims in a class action will provide substantial benefit to

the parties and the Court in avoiding a multiplicity of identical suits.

       44.    Both the class and sub-class can be identified easily through records maintained

by NCO Financial.

       45.    There are questions of law and fact common to the class members in both the class

and sub-class, which predominate over any questions relating to individual class members. Some

of the predominant common questions include:

                      a.      Whether NCO Financial is a “collection agency” as defined by the

                              ICAA;

                      b.      Whether NCO Financial is a “debt collector” as defined by the

                              FDCPA;

                      c.      Whether NCO Portfolio is a “collection agency” as defined by the

                              ICAA;

                      d.      Whether NCO Portfolio was entitled to any payment from Illinois

                              consumers for the debts it had purchased when it was not licensed

                              in Illinois;

                      e.      Whether NCO Financial violated the ICAA by demanding payment

                              of those debts;


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                       f.      Whether NCO violated the FDCPA by demanding payment of those

                               debts; and

                       g.      The appropriate relief.

       46.     Plaintiffs will fairly and adequately represent the class members of the class and

sub-class. Plaintiffs have retained counsel experienced in class actions and collection abuse

litigation. Plaintiffs’ claims are typical of the claims of the class members because they are all

based on the same factual and legal theories. Plaintiffs have no interests adverse to any member

of the class or sub-class.

       47.     A class action is appropriate for the fair and efficient adjudication of this matter.

Class wide relief is essential to compel NCO Financial to comply with the FDCPA.

Members of the class and sub-class are likely unaware of their rights and, even if they are, the

interest in individually controlling the prosecution of separate claims is small because of the

limited damages available. There are likely more than 1,000 possible individual actions for both

the class and sub-class, many of which are not economically feasible on their own.

                  COUNT ONE - VIOLATIONS OF THE ICAA (ENTIRE CLASS )

       48.     Plaintiffs incorporate each of the preceding paragraphs as if specifically alleged

herein.

       49.     In order to protect consumers, the ICAA creates a licensing regime and makes it a

crime for collection agencies to operate, directly or indirectly engage in the business of collecting,

or exercise the right to collect in Illinois without first obtaining a license. 225 ILCS 425/4; 225

ILCS 425/14 .

       50.     Although NCO Financial was licensed to collect debts in Illinois at all times

relevant to this action, NCO Portfolio has never been licensed to collect debts in Illinois.

       51.     Because NCO Portfolio was never licensed to collect debts in Illinois, its


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purchases of the debts owed by Illinois consumers were illegal and it obtained no rights to any

payment thereby.

      52.     The ICAA prohibits a collection agency, whether licensed or not, from attempting

or threatening to enforce a right or remedy with knowledge or reason to know that the right or

remedy does not exist. 225 ILCS 425/9(a)(20).

      53.     Similarly, the ICAA prohibits a collection agency, whether licensed or not, from

misrepresenting the amount owed (225 ILCS 425/9(a)(26)) and from collecting or attempting to

collect any amount not authorized by law (225 ILCS 425/9(a)(29)).

      54.     For every instance in which NCO Financial demanded payment from an Illinois

consumer for a debt allegedly owed to NCO Portfolio, whether by written correspondence or by

telephone or otherwise, NCO Financial attempted to enforce a right or remedy with knowledge

or reason to know that the right or remedy does not exist in violation of 225 ILCS 425/9(a)(20)

because NCO Portfolio has never been permitted to purchase or receive payment for any

consumer debts in Illinois.

      55.     For every instance in which NCO Financial demanded payment from an Illinois

consumer for a debt allegedly owed to NCO Portfolio, whether by written correspondence or by

telephone or otherwise, NCO Financial misrepresented the amount owed in violation of 225

ILCS 425/9(a)(26) because NCO Portfolio has never been permitted to purchase or receive

payment for any consumer debts in Illinois.

      56.     For every instance in which NCO Financial demanded payment from an Illinois

consumer for a debt allegedly owed to NCO Portfolio, whether by written correspondence or by

telephone or otherwise, NCO Financial attempted to collect an amount unauthorized by law in

violation of 225 ILCS 425/9(a)(29) because NCO Portfolio has never been permitted to purchase

or receive payment for any consumer debts in Illinois.


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      57.       With respect to Galvan, NCO Financial attempted to enforce a remedy it had

reason to know did not exist, misrepresented the amount owed, and attempted to collect an

amount unauthorized by law in violation of the ICAA each time it demanded payment of the debt

that NCO Portfolio had purchased from AT&T Universal.

      58.       With respect to Hawthorne, NCO Financial attempted to enforce a remedy it had

reason to know did not exist, misrepresented the amount owed, and attempted to collect an

amount unauthorized by law in violation of the ICAA each time it demanded payment of the debt

that NCO Portfolio had purchased from Citibank.

      59.       WHEREFORE, Plaintiffs request that the Court enter judgment in favor of

Plaintiffs and the class and against NCO Financial for:

                       a.     Reimbursement to each member of any amounts paid to NCO

                              Financial for a debt allegedly owed to NCO Portfolio as actual

                              damages pursuant to 15 U.S.C. §1692k.

                       b.     Punitive damages.

                       c.     Costs and reasonable attorney’s fees.

                COUNT TWO - VIOLATIONS OF THE FDCPA (SUB -CLASS ONLY )

      60.       Hawthorne incorporates paragraphs 1-47 as if specifically alleged herein.

      61.       The FDCPA was enacted to eliminate abusive debt collection practices and to

ensure that debt collectors who refrained from abusive practices were not at a competitive

disadvantage.

      62.       To that end, the FDCPA prohibits, among other things, the false representation of

the character, amount, or legal status of any debt (15 U.S.C. §1692e(2)(A)) and the collection of

any amount that is not permitted by law (15 U.S.C §1692f(1)).

      63.       For every instance in which NCO Financial demanded payment from an Illinois


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consumer for a debt allegedly owed to NCO Portfolio, whether by written correspondence or by

telephone or otherwise, NCO Financial falsely represented the legal status of the debt in violation

of 15 U.S.C. §1692e(2)(A) because NCO Portfolio has never been permitted to purchase or

receive payment for any consumer debts in Illinois.

       64.    For every instance in which NCO Financial demanded payment from an Illinois

consumer for a debt allegedly owed to NCO Portfolio, NCO Financial collected an amount that

was not permitted by law in violation of 15 U.S.C. §1692f(1) because NCO Portfolio has never

been permitted to purchase or receive payment for any consumer debt in Illinois.

       65.    With respect to Hawthorne, NCO Financial falsely represented the legal status of

a debt and collected an amount not permitted by law in violation of the FDCPA each time it

demanded payment of the debt that NCO Portfolio had purchased from Citibank.

       66.    WHEREFORE, Hawthorne requests that the Court enter judgment in his favor

and in favor of the sub-class and against NCO Financial for:

                      a.      Reimbursement to each member of all amounts paid to NCO

                              Financial for a debt allegedly owed to NCO Portfolio as actual

                              damages pursuant to 15 U.S.C. §1692k.

                      b.      Statutory Damages in the amount of $500,000 pursuant to 15

                              U.S.C. §1692k.

                      c.      Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.



                                                     Respectfully Submitted,
                                                     Plaintiffs Rocio Galvan and Joseph Hawthorne

                                                     By: /s/ Timothy J. Sostrin
                                                     One of their Attorneys




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